       CASE 0:04-cr-00477-MJD-RLE          Doc. 83    Filed 01/06/06    Page 1 of 1




                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                            Criminal No.: 04-477 (MJD/RLE)

UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                                                  ORDER

(1) HARRY SOLOMON HANSON,

              Defendant.


              Defendant Hanson has filed a letter waiving speedy trial in this case due

to plea negotiations. Therefore, the Court will grant the waiver of speedy trial.

              Based on all the files, records and proceedings herein, IT IS HEREBY

ORDERED, that:

              1.      Defendant Hanson’s letter to waive speedy trial [docket # 75] is

GRANTED;

              2.      The time between September 14, 2005, and January 12, 2006,

shall be excluded in computing the time within which the trial in this matter must

commence under the Speedy Trial Act pursuant to Title 18, United States Code,

Section 3161(h)(8)(A). The ends of justice will be served by continuing the trial date.

This finding is based upon the Court’s conclusion that the failure to grant such a

continuance would unreasonably deny the parties a right to a fair and just hearing.

Dated: January 6, 2006

                                          s/ Michael J. Davis
                                          MICHAEL J. DAVIS
                                          United States District Court Judge
